Case 1:07-cr-20228-DLG Document 67 Entered on FLSD Docket 03/23/2009 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                           CASE NO. 07-20228-CR-GRAHAM

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.

 LUIS CARLOS CONDE FALON,

            Defendant.
 ________________________/             CRIMINAL TRIAL SCHEDULING ORDER

        PLEASE TAKE NOTICE that the above entitled cause is hereby set
 for Criminal Jury Trial before the Honorable Donald L. Graham, Judge
 for the United States District Court, Southern District of Florida
 in    the   Wilkie   D.   Ferguson,    Jr.,   U.S.   Courthouse,   13th   Floor,
 Courtroom 13-4, 400 North Miami Avenue, Miami, Florida, during the
 two week period commencing Monday, April 13, 2009, at 9:00 a.m., or
 as soon thereafter as the case may be called.

        PLEASE TAKE FURTHER NOTICE that a Calendar Call will be held
 on Wednesday, April 8, 2009 at 3:00 p.m., before Judge Graham, at
 the aforementioned address.           ALL COUNSEL MUST BE PRESENT.


         1. All requests for Writs Ad Testificandum must be filed not
 later than 14 business days prior to the first day of the scheduled
 trial period to insure adequate time for processing.


         2. If the case is a Jury Trial, counsel shall prepare and
 submit to the Court, at the Calendar Call, any proposed Voir Dire
 questions necessary to elicit information concerning prospective
 jurors other than identity and general background information.



                                          1
Case 1:07-cr-20228-DLG Document 67 Entered on FLSD Docket 03/23/2009 Page 2 of 4



       In addition, counsel shall submit to the Court, at the Calendar
 Call,    proposed    jury   instructions,       in   typed    form,     including
 substantive charges and defenses.            Eleventh Circuit Pattern Jury
 Instructions, 2003 Edition, may be referred to by listing only the
 instruction number and page number.
      3. All responses to the Discovery Order and/or Local Rule
 88.10 shall be provided timely.               Noncompliance may result in
 sanctions.      Fed. R. Evid. 404(b) notices shall include in writing
 a specific factual basis for the evidence sought to be introduced.
 The rule requires "the prosecution to provide notice, regardless of
 how it intends to use the extrinsic act evidence at trial, i.e.,
 during    its    case-in-chief,   for       impeachment,     or   for   possible
 rebuttal."      Fed.R.Evid. 404(b) Advisory Committee's note to 1991
 amendments.
     4. The Government and the defense shall strictly comply with
 Local Rule 88.10(P), which requires the preparation of a written
 statement signed by all parties describing discovery                    material
 exchanged and agreed upon trial stipulations. The parties will also
 acknowledge in the written statement that they have read the Courts
 Criminal Trial Scheduling Order.


      5. Initial and supplemental discovery responses provided "out-
 of-time" shall include a statement in the first paragraph of the
 response explaining why      Criminal Discovery        was not complied with
 in a timely fashion.


     6.   All counsel shall submit to the Court, at the Calendar Call,
 a typed list of proposed witnesses and/or exhibits to be presented
 at trial.    All exhibits which will be offered into evidence must be
 pre-labeled in accordance with the proposed exhibit list.                 Exhibit
 labels shall include the case number.



                                         2
Case 1:07-cr-20228-DLG Document 67 Entered on FLSD Docket 03/23/2009 Page 3 of 4



    Labels may be obtained from the Clerk of Court.           Counsel shall
 also submit to the Court in writing any Motions in Limine regarding
 trial issues at the Calendar Call.


     7. Counsel are instructed that arrangements for appropriate
 clothing for Defendants in custody must be made with the Bureau of
 Prisons at least seven (7) days prior to the scheduled trial date.


      8. Counsel are instructed to notify the Court if an interpreter
 is required at least 24 hours prior to any hearing or trial.

      9. Any attorney seeking exoneration of a cash bond shall obtain
 a copy of this Court's form Motion for Disbursement of Bond from the
 Courtroom Deputy.


     10. If either party seeks to introduce transcript(s) at trial,
 the moving party shall present a copy to all counsel not less than
 ten (10) days prior to the scheduled trial date.           If a transcript
 cannot be agreed upon, each party shall produce their own version
 of the transcript for presentation to the trier of fact. Government
 counsel    shall   notify   the   case    agent/client    agency   of   this
 requirement.

      11. Prior to trial, counsel shall reduce all stipulations to
 writing.

      12. All motions shall be accompanied by a written statement
 certifying that counsel for the moving party has conferred with
 opposing counsel in a good faith effort to resolve by agreement the
 subject matter of the motion as required by Local Rule 88.9.

         13. All motions for continuance must be in writing and filed
 with the Clerk of the Court at least 48 hours prior to the Calendar
 Call.

                                       3
Case 1:07-cr-20228-DLG Document 67 Entered on FLSD Docket 03/23/2009 Page 4 of 4



      Motions for continuance will not be favorably considered unless
 the parties have complied with Local Rule 88.10 (P) which requires
 the filing of a written statement describing all discovery material
 exchanged.

     14. If defense counsel foresees that a sentencing hearing will
 take    more than thirty (30) minutes, the Courtroom Deputy shall be
 advised not later than five (5) days prior to the hearing.


        15. Defense counsel who have or will represent witnesses, co-
 defendants, targets, or subjects in this or any other related
 criminal case     shall notify the Court immediately so that a Garcia
 Hearing    can   be   scheduled   to    resolve   any   potential   or   actual
 conflicts of interest. It is the desire of the court that all Garcia
 hearings be conducted as close to the time of arraignment as
 possible.
      16. Discovery responses to the Standing Discovery Order which
 generally allege the government "will" disclose or provide discovery
 information is not in compliance.            The Order is clear.    Discovery
 "shall" be provided on or before fourteen (14) days from the date
 of the Standing Discovery Order. Untimely produced discovery by any
 party is subject to exclusion.


        DONE AND ORDERED at Miami, Florida this 20th day of March,
 2009.




                                        DONALD L. GRAHAM
                                        UNITED STATES DISTRICT JUDGE

 Copied: Michael Sofia, AUSA
         Eric Cohen, Esq.



                                          4
